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                                                        . Gov Ex. 2.

       5.



             . Gov Ex. 3.

       6.      On June 25, 2025, a D.C. Superior Court Judge found the Defendant competent to

stand trial in Case Number 2025 CMD 6354.

       7.      Incompetence is an absolute bar to a criminal trial. Drope v. Missouri, 420 U.S.

162, 173 (1975); see also Vogt v. United States, 88 F.3d 587, 590 (8th Cir. 1996) (“Due process

prohibits the trial and conviction of a defendant who is mentally incompetent.”) (citing Drope,

420 U.S. at 172).

       8.      Pursuant to 18 U.S.C. § 4241(a), the government or defendant may move the court

to determine the mental competency of a defendant “any time after the commencement of a

prosecution for an offense and prior to the sentencing of the defendant, or at any time after the

commencement of probation or supervised release and prior to the completion of the sentence.”

The court must grant the motion, or hold a hearing on its own motion, “if there is reasonable

cause to believe that the defendant may presently be suffering from a mental disease or defect

rendering him mentally incompetent to the extent that he is unable to understand the nature and

consequences of the proceedings against him or to assist properly in his defense.” § 4241(a).

       9.      Under 18 U.S. Code § 3161(f)(1)(A), a “delay resulting from any proceeding,

including any examinations, to determine the mental competency . . . of the defendant” “shall be

excluded in computing the time within which the trial of any such offense must commence.”

       10.     Exclusion under § 3161(f)(1)(A) is “automatic.” See United States v. O’Connor,



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656 F.3d 630, 642 (7th Cir. 2011) (“[P]eriods of delay excludable under § 3161(h)(1)-(6) [sic]

may be automatically excluded if the specified conditions are present; no . . . balancing by the

court is necessary because the balance has already been struck by Congress.”); United States v.

Stubblefield, 643 F.3d 291, 295 (D.C. Cir. 2011) (“exclusion provided [for pretrial motions] is

‘automatic,’ and applies ‘without district court findings’”).

       11.     Accordingly, the period of delay from June 6, 2025, when a Superior Court Judge

ordered a competency screening

                   until June 25, 2025, when a Superior Court Judge found the Defendant

competent to stand trial, is properly excluded in computing the time within which the trial must

commence.



                                                     Respectfully submitted,

                                                     Jeanine F. Pirro
                                                     U.S. Attorney
                                                     NY Bar Number 1387455


                                              By:    /s/ Jacob M. Green
                                                     Jacob M. Green
                                                     Assistant United States Attorney
                                                     MA Bar Number 706143
                                                     United States Attorney’s Office
                                                     601 D Street, N.W.
                                                     Washington, D.C. 20530
                                                     Telephone: (202) 803-1617
                                                     Email: Jacob.green3@usdoj.gov




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